USCA Case #25-5091                 Document #2115411                Filed: 05/12/2025      Page 1 of 1
                      United States Court of Appeals
                                       FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                                ____________


No. 25-5091                                                           September Term, 2024
                                                                                  1:25-cv-00381-ABJ
                                                             Filed On: May 12, 2025
National Treasury Employees Union, et al.,

                   Appellees

         v.

Russell T. Vought, in his official capacity as
Acting Director of the Consumer Financial
Protection Bureau and Consumer Financial
Protection Bureau,

                   Appellants

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Consolidated with 25-5132

         BEFORE:           Pillard, Katsas, and Rao, Circuit Judges


                                                   ORDER

      Upon consideration of appellants’ unopposed motion to voluntarily dismiss
appeal No. 25-5132, it is

      ORDERED that the motion be granted, and case No. 25-5132 is hereby
dismissed. It is

         FURTHER ORDERED that the consolidation of these cases be terminated.

         The Clerk is directed to issue the mandate forthwith in case No. 25-5132.


                                                  Per Curiam

                                                                    FOR THE COURT:
                                                                    Clifton B. Cislak, Clerk

                                                            BY:     /s/
                                                                    Scott H. Atchue
                                                                    Deputy Clerk
